Case:18-00140-ESL Doc#:2 Filed:12/06/18 Entered:12/06/18 08:29:15                                           Desc: Official
                         Adv Summons Page 1 of 2
                                   UNITED STATES BANKRUPTCY COURT
                                           District of Puerto Rico




  IN THE MATTER OF:

  JOSE LUIS BIRRIEL RIVERA and LYDIA IRIS Case No. 18−05896
  OCASIO BURGOS
                                          Chapter 7
  Debtor(s)


  JOSE LUIS BIRRIEL RIVERA                                    ADVERSARY NUMBER 18−00140
  LYDIA IRIS OCASIO BURGOS
  Plaintiff(s)

  v.                                                                        FILED & ENTERED ON 12/6/18

  FIRST BANK PUERTO RICO
  Defendant




                               SUMMONS IN AN ADVERSARY PROCEEDING

      YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons
  with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United
  States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

  Jose V Toledo Fed Bldg & US Courthouse
  300 Recinto Sur Street, Room 109
  San Juan, PR 00901

  At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

  ROBERTO FIGUEROA CARRASQUILLO
  PO BOX 186
  CAGUAS, PR 00726−0186

  If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.
  IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT
  TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE
  TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THIS COMPLAINT.




                                                               By: JOSE ROMO (Deputy Clk)
Case:18-00140-ESL Doc#:2 Filed:12/06/18 Entered:12/06/18 08:29:15                             Desc: Official
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                                    CERTIFICATION OF SERVICE

  I,__________________________ (name), certify that service of this summons and a copy of the
  complaint was made ____________________(date) by:


  [ ] Mail service: Regular, first class United States mail, postage fully pre−paid, addressed to:



  [ ] Personal Service: By leaving the process with the defendant or with an officer or agent of
  defendant at:



  [ ] Residence Service: By leaving the process with the following adult at:



  [ ] Certified Mail Service on an Insured Depository Institution: By sending the process by certified
  mail addressed to the following officer of the defendant at:



  [ ] Publication: The defendant was served as follows: [Describe briefly]



  [ ] State Law: The defendant was served pursuant to the laws of the State of __________, as
  follows:[Describe briefly]



  If service was made by personal service, by residence service, or pursuant to state law, I further certify
  that I am, and at all times during the service of process was, not less than 18 years of age and not a
  party to the matter concerning which service of process was made.


  Under penalty of perjury, I declare that the foregoing is true and correct.

  Date ______________________________ Signature ______________________________


  Print Name:                                        ______________________________

  Business Address:                                  ______________________________
                                                     ______________________________
                                                     ______________________________
